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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           WESTERN DIVISION


UNITED STATES OF AMERICA

VERSUS                                 CRIMINAL NO. 5:06-cr-9(DCB)(JCS)

ANTHONY BUCKHALTER                                                     DEFENDANT


                     MEMORANDUM OPINION AND ORDER

        This cause is before the Court on the defendant Anthony

Buckhalter’s Motion to Dismiss for Double Jeopardy (docket entry

24).     Having carefully considered the motion and response, the

applicable statutory and case law, and being otherwise fully

advised in the premises, the Court finds as follows:

        The defendant, Anthony Buckhalter, is charged with, among

other things, conspiring to possess alcohol within a federal

prison, 18 U.S.C. § 1791(a)(2), in violation of Section 371, Title

18, United States Code. Prior to his indictment, the defendant was

placed in solitary confinement, from approximately May 18, 2005,

until    December   23,   2005,   pending   investigation        for    alleged

violation of Bureau of Prisons regulations in connection with the

incident.     The defendant claims that this action constitutes

“punishment,” and seeks to have the pending criminal charges

against him dismissed as being barred by the Double Jeopardy Clause

of the Fifth Amendment.

       The Fifth Amendment’s Double Jeopardy Clause provides that no

person shall “be subject for the same offence to be twice put in
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jeopardy of life or limb.”       Thus, individuals are protected from

three types of constitutional violations under the Double Jeopardy

Clause: “(1) a second prosecution after acquittal for the same

offense, (2) a second prosecution after conviction for the same

offense, and (3) multiple punishments for the same offense.”

Porter v. Coughlin, 421 F.3d 141, 144 (2nd Cir. 2005)(citing United

States v. Lopez, 356 F.3d 463, 467 (2nd Cir. 2004)).            It is the last

cited protection, the prohibition against multiple punishments,

which the defendant seeks to invoke to have this Court dismiss the

pending criminal charges against him.

     In United States v. Halper, 490 U.S. 435 (1989), the Supreme

Court considered the issue of “whether and under what circumstances

a civil penalty may constitute punishment for the purpose of the

Double Jeopardy Clause.”        Id. at 446.    It was held in that case

that where a civil penalty bears “no rational relation” to the goal

of compensating the government for its loss, the action constitutes

punishment under the Double Jeopardy Clause.          Id. at 449.

     In Hudson v. United States, 522 U.S. 93 (1997), however, the

Supreme Court largely disavowed the method of analysis used in

Halper and instead held that the Double Jeopardy Clause prohibits

multiple sanctions for the same offense only if those sanctions

constitute “criminal punishment.” Id. at 99. Under Hudson, a two-

part approach is undertaken to determine if an action constitutes

“punishment” under the Fifth Amendment.           First, the court must


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determine whether the sanction at issue was intended by Congress to

be a civil remedy or a criminal punishment.          Id.      If Congress did

not intend that the sanction be criminal in nature, the court must

then determine whether the action is so punitive in purpose or

effect so as to “transform what has been denominated a civil remedy

into a criminal penalty.”       Id. (internal citation omitted).               This

determination is made by examining seven separate factors, as laid

out by Kennedy v. Mendoza-Martinez, 372 U.S. 144, 168-69 (1963):

     1.      Whether the sanction involves an affirmative disability
             or restraint;

     2.      Whether it has historically been regarded as punishment;

     3.   Whether it has come into play only on a finding of
          scienter;

     4.   Whether its operation will promote the traditional aims
          of punishment, retribution and deterrence;

     5.   Whether the behavior to which it applies is already a
          crime;

     6.   Whether an alternative purpose to which it may rationally
          be connected is assignable for it; and

     7.   Whether it appears excessive             in   relation          to   the
          alternative purpose assigned.

Hudson, 522 U.S. at 99-100.       Under this legal standard, the Court

addresses whether the prison disciplinary action taken against

Buckhalter    constitutes   “criminal     punishment”    so     as   to    bar   a

subsequent criminal action against him based on the same conduct.

     Congress empowered the Bureau of Prisons to “provide for the

protection, instruction, and discipline of all persons charged with


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or convicted of offenses against the United States.”            18 U.S.C. §

4042(a)(3) (emphasis added).      Although this statute is contained

within the section of the United States Code pertaining to crimes,

it is apparent that it is not, itself, a criminal statute.                   The

statute authorizes a federal agency to administer discipline, but

it does not empower the agency to punish an individual through

conviction of a substantive crime.        See Hudson, 522 U.S. at 103

(holding that where an administrative agency is empowered to issue

sanctions, that is “prima facie evidence that Congress intended to

provide for a civil sanction”); United States v. Mayes, 158 F.3d

1215, 1223 (11th Cir. 1998)(holding that Congress intended federal

prison disciplinary actions to be civil in nature).

     Case law further makes it clear that prison disciplinary

proceedings    are   not   considered    to   be   part   of   a   criminal

prosecution.    See Wolff v. McDonnell, 418 U.S. 539, 556 (1974)

(stating, in a case involving good time credits, that “prison

disciplinary proceedings are not part of a criminal prosecution”);

Baxter v. Palmigiano, 425 U.S. 308, 316 (1975)(“Prison disciplinary

hearings are not criminal proceedings”); United States v. Duke, 527

F.2d 386, 390 (5th Cir. 1976)(administrative segregation is not an

arrest triggering the Speedy Trial Act); Rhodes v. Henman, 946 F.2d

901 (10th Cir. 1991) (prison disciplinary hearings are civil in

nature).

     Buckhalter makes no effort to convince the Court that Congress


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intended for disciplinary actions taken against prisoners to be

criminal in nature.          The Court therefore proceeds to the second

prong of the Hudson analysis, i.e., whether the “clearest proof”

evidences      that   the   prison     disciplinary      actions       authorized      by

Congress are “so punitive in form and effect as to render them

criminal      despite    [the    government’s]       intent     to    the   contrary.”

United States v. Ursery, 518 U.S. 267, 290 (1996).                    It should first

be    noted    that      while   the     Kennedy      factors        “provide    useful

guideposts,” Hudson, 522 U.S. at 99, those factors are neither

“exhaustive nor dispositive.” United States v. Ward, 448 U.S. 242,

249 (1980).      “It is particularly appropriate to apply the factors

flexibly in the context of prison discipline cases, which ‘do not

fit neatly into the matrix of double jeopardy doctrine ... because

in the prison context,            virtually     any    form     of    sanction seems

‘criminal’ and ‘punitive’ as we commonly understand those terms.”

Porter, 421 F.3d at 147 (quoting Mayes, 158 F.3d at 1223).

        The first five Kennedy factors support Buckhalter’s argument

that the prison disciplinary proceedings are criminal rather than

civil    in    nature.      Being      placed   in    disciplinary          confinement

certainly involves an “affirmative disability or restraint,” and is

“historically regarded as punishment” as contemplated in the second

Kennedy factor.         Buckhalter alleges that disciplinary action was

taken against him after the prison officials determined he had

acted with scienter, and this is not contested by the government.


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Furthermore, the disciplinary action addressed conduct which is

“already a crime,” the possession of alcohol by an inmate in

federal     prison.     Certainly,    the   administrative       action        was

authorized by Congress with the aim to deter future conduct of a

similar nature by the defendant and other inmates, thus it promoted

“the traditional aims of punishment, retribution and deterrence.”

     The last two Kennedy factors, however, weigh heavily against

a finding that the disciplinary action was a criminal punishment in

effect.     The action taken against the defendants by the prison

officials    was   “rationally    connected”    to   an   alternative,     non-

punitive, purpose in maintaining institutional order.              See Mayes,

158 F.3d at 1224 (holding that disciplinary transfers to a high

security prison, disciplinary segregation for 60 days, disallowance

of accrued good conduct time, and loss of visitation privileges for

up to one year did not act as criminal punishment to invoke the

Double Jeopardy Clause).         The disciplinary action undertaken in

response to the defendant’s alleged attempt to bring alcohol onto

the prison grounds also does not appear “excessive” in relation to

the purpose of maintaining institutional order.

     In striking the balance between the Kennedy factors, the Court

finds that the last two factors, especially when considered in the

prison context, weigh so heavily that the defendant’s motion to

dismiss must be denied.     As the Third Circuit has commented:

            We do not believe that the Double Jeopardy
            Clause was ever intended to inhibit prison

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           discipline ... .    If a prison disciplinary
           sanction bars subsequent criminal prosecution,
           the prison authorities will be forced to
           choose between instituting a disciplinary
           proceeding or awaiting a criminal prosecution.
           The   process   of   conducting    a   criminal
           investigation   and    prosecution   may   take
           considerable time. The difficulties and delay
           that a criminal prosecution entails would
           leave the prisoners who violated the prison
           rules without a prompt resolution of charges
           and   hinder    prison    administration    and
           discipline.

United States v. Newby, 11 F.3d 1143, 1146 (3rd Cir. 1993).

     Perhaps most telling, the defendant has failed to cite a

single case in which a court has held that prison discipline bars

further criminal prosecution under the Double Jeopardy Clause.               In

fact, the cases, both pre- and post-Hudson, consistently deny such

claims.1   See, e.g., Hullum v. Maloney, 105 Fed.Appx. 278 (1st Cir.

2004); Porter v. Coughlin, 421 F.3d 141 (2nd Cir. 2005); United

States v. Hernandez-Fundora, 58 F.3d 802 (2nd Cir. 1995); United

States v. Newby, 11 F.3d 1143 (3rd Cir. 1993); Keaveny v. United

States, 405 F.2d 821 (5th Cir. 1969); United States v. Gilchrist,

427 F.2d 1132 (5th Cir. 1970); United States v. Herrera, 504 F.2d

859 (5th Cir. 1970); United States v. Williamson, 469 F.2d 88 (5th

Cir. 1972); United States v. Galan, 82 F.3d 639 (5th Cir. 1996);



     1
       Many of the listed cases were decided pre-Hudson and thus do
not explicitly employ the Kennedy factors.       Nevertheless, the
discussion contained within these cases is persuasive. Moreover,
the Court’s research has uncovered no post-Hudson cases which lend
credence to the defendant’s claim that, in the prison context,
disciplinary action bars future criminal prosecution.

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Welch v. Epps, 103 Fed.Appx. 828 (5th Cir. 2004); United States v.

Shepard, 78 Fed.Appx. 387 (5th Cir. 2003); Singleton v. Page, 1999

U.S. App. LEXIS 30162 (7th Cir. Nov. 15, 1999); Garrity v. Fiedler,

41 F.3d 1150 (7th Cir. 1994); Kearns v. Parratt, 672 F.2d 690 (8th

Cir. 1982); United States v. Brown, 59 F.3d 102 (9th Cir. 1995);

United States v. Rising, 867 F.2d 1255 (10th Cir. 1989); United

States v. Mayes, 158 F.3d 1215 (11th Cir. 1998); Holleman v.

Johnson, 2001 U.S. Dist. LEXIS 15199 (N.D. Tex. Sept. 19, 2001).

     Thus, it is clear that prison discipline, at least in this

context, does not act to bar subsequent criminal prosecution based

upon the same conduct which gave rise to the civil sanction.                     The

defendant offers nothing to convince this Court that his case is so

extraordinary as to take it out of the traditional scenario.

Therefore, the motion shall be denied.           Accordingly,

     IT IS HEREBY ORDERED that the defendant Anthony Buckhalter’s

Motion to Dismiss for Double Jeopardy (docket entry 24) is DENIED.

     SO ORDERED, this the       7th         day of April, 2006.



                                                 s/ David Bramlette
                                              UNITED STATES DISTRICT JUDGE




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